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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI


 DAVID IVEY, M.D.,

          Plaintiff,

 v.

 AUDRAIN COUNTY
   SERVE:
      Audrain County                                   Cause No.: 4:17-cv-2775
      c/o Shelley Harvey, County Clerk
      Audrain County Courthouse
      101 N. Jefferson St., Room 101                   DELIBERATE INDIFFERENCE
      Mexico, Missouri 65265                           WRONGFUL DEATH
                                                       AND MEDICAL NEGLIGENCE
 and

 STEPHANIE HILDEBRAND, individually                    JURY TRIAL DEMANDED
 and in her official capacity as a nurse for the
 Audrain County Jail
   SERVE:
        Stephanie Hildebrand
        Audrain County Jail
        1100 Littleby Rd
        Mexico, MO 65265

 and

 JOHN DOE, individually and in his official
 capacity as a guard for the Audrain County
 Jail

          Defendants.



                                          COMPLAINT

         David Ivey, M.D. states the following for his Complaint against Audrain County, Missouri,

Stephanie Hildebrand and John Doe:




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                          PARTIES, JURISDICTION, AND VENUE

        1.     Plaintiff David Ivey (“Plaintiff”) is a citizen and resident of the State of Missouri.

        2.     Mark Ivey (“Mark”) was the natural son of Plaintiff.

        3.     Mark died in the custody of Defendant Audrain County, Missouri (“Audrain

County”) on July 22, 2016.

        4.     Plaintiff brings this action pursuant to Mo. Rev. Stat. § 537.080, commonly referred

to as the “Missouri Wrongful Death Statute,” on behalf of himself and all persons entitled to

recover under said statute. Plaintiff is a proper party to bring this action for the wrongful death of

Mark.

        5.     Audrain County is a political subdivision of the State of Missouri and is the legal

entity responsible for itself and for the Audrain County Jail.

        6.     Audrain County is the employer of Defendants Stephanie Hildebrand

(“Hildebrand”) and Defendant John Doe (“John Doe”).

        7.     Hildebrand is a nurse employed at the Audrain County Jail. Upon information and

belief, Hildebrand is a resident and citizen of Missouri, was at all times relevant acting under color

of state law in her capacity as a nurse, and was acting in the course and scope of her employment

by Audrain County.

        8.     John Doe is a guard at the Audrain County Jail. Upon information and belief, John

Doe is a resident and citizen of Missouri, was at all times relevant acting under color of state law

in his capacity as a guard, and was acting in the course and scope of his employment by Audrain

County.

        9.     This action arises under the Constitution and laws of the United States, including

Article III, Section 1 of the United States Constitution and is brought pursuant to 42 U.S.C. §§



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1983 and 1988. Jurisdiction against Defendants is conferred upon this Court by 28 U.S.C. § 1331

and by the doctrine of supplemental jurisdiction under 28 U.S.C. § 1367.

       10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in Audrain

County, Missouri, within this Court’s geographic judicial district.

                                 FACTUAL ALLEGATIONS

       11.     Mark was arrested on July 20, 2016 in Audrain County.

       12.     At the time of his arrest, Mark experienced shortness of breath and was transported

to the Emergency Department at SSM Health St. Mary’s–Audrain (“SSM”).

       13.     After treatment, Mark was discharged and transported to the Audrain County Jail.

       14.     SSM made each Defendant aware of Mark’s objectively serious and particular

medical needs in relation to his asthma and withdrawal symptoms at the time of his discharge from

the Emergency Department.

       15.     During his confinement at the Audrain County Jail, Mark suffered withdrawal

symptoms and was seen by Hildebrand on July 21, 2016.

       16.     Hildebrand personally observed and became further aware of Mark’s particular

medical needs when she saw him on July 21, 2016.

       17.     Hildebrand knowingly failed to provide Mark the continuing medical treatment and

monitoring that she was aware he required.

       18.     Hildebrand knowingly failed to ensure others provided Mark the continuing

medical treatment and monitoring that she was aware he required.

       19.     John Doe was in charge of monitoring the inmates, including Mark, overnight on

the night of July 21, 2016.



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       20.     John Doe personally observed and became further aware of Mark’s particular

medical needs when he began monitoring Mark on the night of July 21, 2016.

       21.     John Doe knowingly failed to provide Mark the continuing monitoring that he was

aware Mark required.

       22.     John Doe knowingly failed to ensure others provided Mark the continuing medical

treatment and monitoring that he was aware Mark required.

       23.     During the early morning hours of July 22, 2016, Mark’s symptoms caused him to

stop breathing and fall into cardiac arrest.

       24.     Mark exhibited an objectively serious medical need in that he was non-responsive

and was not breathing.

       25.     By the time medical personnel were called, Mark was unresponsive, pulseless, and

had cold bluish skin.

       26.     Mark was taken back to the Emergency Department at SSM, where he was

pronounced dead.

       27.     Mark was 30 years old at the time of his death.

                                               COUNT I

   42 U.S.C. § 1983 – Deliberately Indifferent Policies, Practices, Customs, Training, and
                  Supervision in Violation of the Fourteenth Amendment
                               (Defendant Audrain County)

       28.     Plaintiff incorporates the above allegations as though fully set forth herein.

       29.     42 U.S.C. § 1983 provides that:

               Every person who, under color of any statute, ordinance, regulation, custom, or
               usage, of any State or Territory or the District of Columbia, subjects, or causes to
               be subjected, any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges, or immunities secured by the
               Constitution and laws, shall be liable to the party injured in an action at law, suit in
               equity, or other proper proceeding for redress…

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       30.     Mark was a citizen of the United States and thus entitled to the full benefits and

equal protection of the Federal Constitution and all laws and regulations enacted thereunder.

       31.     Audrain County is a person under 42 U.S.C. § 1983.

       32.     Audrain County and its employees, agents, and representatives were, at all times

relevant, acting under the color of ordinances, regulations, customs, and laws of the State of

Missouri.

       33.     At the time of the incident that is the subject of Plaintiff’s Complaint, Mark had

clearly established constitutional rights, including the right under the Fourteenth Amendment to

adequate medical treatment.

       34.     Audrain County and its employees, agents, and representatives knew, or should

have known, of these rights at the time of the complained of conduct as they were clearly

established.

       35.     The acts or omissions of Audrain County and its employees, agents, and

representatives, as described herein, deprived Mark of his constitutional and statutory rights,

resulting in his death and causing Plaintiff damages.

       36.     Audrain County and its employees, agents, and representatives intentionally,

knowingly and purposely deprived Mark of his clearly established rights, privileges, and

immunities as secured by the Constitution and laws of the United States in violation of 42 U.S.C.

§ 1983.

       37.     Audrain County and its employees, agents, and representatives are policymakers

for the Audrain County Jail, and in that capacity, established policies, procedures, customs, and/or

practices for the same.




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        38.      Audrain County and its employees, agents, and representatives maintained policies,

procedures, customs, and/or practices exhibiting deliberate indifference to the constitutional rights

of citizens, which were the moving forces behind and proximately caused the violations of Mark’s

constitutional rights as set forth herein.

        39.      Audrain County and its employees, agents, and representatives have developed and

maintained long-standing, department-wide customs, policies, procedures, practices, and/or failed

to properly train and/or supervise its employees, agents and representatives in a manner amounting

to deliberate indifference to the constitutional rights of Mark and the public. The inadequacy of

training and/or supervision is so likely to result in violation of constitutional and federal rights,

such as those described herein, that the failure to provide proper training and supervision is

indifferent to those rights.

        40.      The deliberately indifferent training and supervision provided by Audrain County

and its employees, agents, and representatives resulted from a conscious and deliberate choice to

follow a course of action from among various alternatives available to them and were moving

forces in Mark’s constitutional and statutory violation injuries.

        41.      As a direct and proximate result of Audrain County’s interference with Mark’s

federal constitutional and statutory rights, Plaintiff has suffered damages and losses.

        42.      Audrain County, by and through its agents and employees, actually knew of Mark’s

objectively serious medical needs, but were deliberately indifferent to his needs and violated his

Fourteenth Amendment rights in that:

              a. Audrain County knowingly failed to properly monitor Mark;

              b. Audrain County knowingly failed to properly treat Mark’s medical condition;




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             c. Audrain County knowingly failed to allow Mark access to appropriate medical

                services and care for his medical needs;

             d. Audrain County knowingly failed to respond to Mark in a timely manner; and,

             e. Such other acts of deliberate indifference that the evidence will show.

       43.      Audrain County policy-making officials have shown deliberate indifference to or

tacit authorization of the above conduct after notice to the officials of that misconduct.

       44.      Mark’s death was caused by Audrain County’s unconstitutional customs which

delayed the required emergency treatment to save his life.

       45.      As a result of the unconstitutional policies and customs of Audrain County,

emergency treatment of Mark was delayed, causing his death.

       46.      The denial or delay of health care treatment for Mark was attributable to something

more than simple negligence upon the part of Audrain County officials.

       47.      Audrain County’s conduct showed a complete indifference to or a conscious

disregard for the safety of Mark and others, thereby justifying an award of aggravating

circumstances damages in such sum as will serve to punish and deter Defendant, and others, from

like conduct in the future.

       48.      Plaintiff is entitled to attorney’ fees and costs pursuant to 42 U.S.C. 1988

       WHEREFORE Plaintiff prays for judgment against Audrain County in a fair and

reasonable amount in excess of seventy-five thousand dollars ($75,000.00) for the harms and

losses he has suffered, for his costs incurred herein, for attorneys’ fees, for aggravating

circumstances damages, and for any further relief this Court deems just and proper.




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                                            COUNT II

42 U.S.C. § 1983 – Deliberate Indifference to Medical Needs in Violation of the Fourth and
                                 Fourteenth Amendments
             (Defendant Hildebrand in her individual and official capacities)

       49.     Plaintiff incorporates the above allegations as though fully set forth herein.

       50.     42 U.S.C. § 1983 provides that:

               Every person who, under color of any statute, ordinance, regulation, custom, or
               usage, of any State or Territory or the District of Columbia, subjects, or causes to
               be subjected, any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges, or immunities secured by the
               Constitution and laws, shall be liable to the party injured in an action at law, suit in
               equity, or other proper proceeding for redress…

       51.     Mark was a citizen of the United States and thus entitled to the full benefits and

equal protection of the Federal Constitution and all laws and regulations enacted thereunder.

       52.     Hildebrand is a person under 42 U.S.C. § 1983.

       53.     Hildebrand was, at all times relevant, acting under the color of ordinances,

regulations, customs, and laws of the State of Missouri.

       54.     At the time of the incident that is the subject of Plaintiff’s Complaint, Mark had

clearly established constitutional rights, including the right under the Fourteenth Amendment to

adequate medical treatment.

       55.     Hildebrand knew, or should have known, of these rights at the time of the

complained of conduct as they were clearly established.

       56.     The acts or omissions of Hildebrand, as described herein, deprived Mark of his

constitutional and statutory rights, resulting in his death and causing Plaintiff damages.

       57.     Hildebrand intentionally, knowingly and purposely deprived Mark of his clearly

established rights, privileges, and immunities as secured by the Constitution and laws of the United

States in violation of 42 U.S.C. § 1983.

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          58.      Hildebrand’s actions, as described herein, were also malicious and/or involved

reckless, callous, and deliberate indifference to Mark’s federally protected rights. The indifference

displayed by Hildebrand shocks the conscience and so violated Mark’s Fourteenth Amendment

rights.

          59.      As a direct and proximate result of Hildebrand’s interference with Mark’s federal

constitutional and statutory rights, Plaintiff has suffered damages and losses.

          60.      Hildebrand actually knew of Mark’s objectively serious medical needs, but was

deliberately indifferent to his needs and violated his Fourteenth Amendment rights in that:

                a. Hildebrand knowingly failed to properly monitor Mark;

                b. Hildebrand knowingly failed to properly treat Mark’s medical condition;

                c. Hildebrand knowingly failed to allow Mark access to appropriate medical services

                   and care for his medical needs;

                d. Hildebrand knowingly failed to respond to Mark in a timely manner; and,

                e. Such other acts of deliberate indifference that the evidence will show.

          61.      The denial or delay of health care treatment for Mark was attributable to something

more than simple negligence upon the part of Hildebrand.

          62.      Hildebrand’s conduct showed a complete indifference to or a conscious disregard

for the safety of Mark and others, thereby justifying an award of aggravating circumstances

damages in such sum as will serve to punish and deter Defendant, and others, from like conduct in

the future.

          63.      Plaintiff is entitled to attorney’ fees and costs pursuant to 42 U.S.C. 1988.

          WHEREFORE Plaintiff prays for judgment against Hildebrand in a fair and reasonable

amount in excess of seventy-five thousand dollars ($75,000.00) for the harms and losses he has



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suffered, for his costs incurred herein, for attorneys’ fees, for aggravating circumstances damages,

and for any further relief this Court deems just and proper.

                                            COUNT III

42 U.S.C. § 1983 – Deliberate Indifference to Medical Needs in Violation of the Fourth and
                                 Fourteenth Amendments
               (Defendant John Doe in his individual and official capacities)

       64.     Plaintiff incorporates the above allegations as though fully set forth herein.

       65.     42 U.S.C. § 1983 provides that:

               Every person who, under color of any statute, ordinance, regulation, custom, or
               usage, of any State or Territory or the District of Columbia, subjects, or causes to
               be subjected, any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges, or immunities secured by the
               Constitution and laws, shall be liable to the party injured in an action at law, suit in
               equity, or other proper proceeding for redress…

       66.     Mark was a citizen of the United States and thus entitled to the full benefits and

equal protection of the Federal Constitution and all laws and regulations enacted thereunder.

       67.     John Doe is a person under 42 U.S.C. § 1983.

       68.     John Doe was, at all times relevant, acting under the color of ordinances,

regulations, customs, and laws of the State of Missouri.

       69.     At the time of the incident that is the subject of Plaintiff’s Complaint, Mark had

clearly established constitutional rights, including the right under the Fourteenth Amendment to

adequate medical treatment.

       70.     John Doe knew, or should have known, of these rights at the time of the complained

of conduct as they were clearly established.

       71.     The acts or omissions of John Doe, as described herein, deprived Mark of his

constitutional and statutory rights, resulting in his death and causing Plaintiff damages.




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          72.      John Doe intentionally, knowingly and purposely deprived Mark of his clearly

established rights, privileges, and immunities as secured by the Constitution and laws of the United

States in violation of 42 U.S.C. § 1983.

          73.      John Doe’s actions, as described herein, were also malicious and/or involved

reckless, callous, and deliberate indifference to Mark’s federally protected rights. The indifference

displayed by John Doe shocks the conscience and so violated Mark’s Fourteenth Amendment

rights.

          74.      As a direct and proximate result of John Doe’s interference with Mark’s federal

constitutional and statutory rights, Plaintiff has suffered damages and losses.

          75.      John Doe actually knew of Mark’s objectively serious medical needs, but was

deliberately indifferent to his needs and violated his Fourteenth Amendment rights in that:

                a. John Doe knowingly failed to properly monitor Mark;

                b. John Doe knowingly failed to call medical personnel to treat Mark’s medical

                   condition in a timely manner;

                c. John Doe knowingly failed to allow Mark access to appropriate medical services

                   and care for his medical needs;

                d. John Doe knowingly failed to respond to Mark in a timely manner; and,

                e. Such other acts of deliberate indifference that the evidence will show.

          76.      The denial or delay of health care treatment for Mark was attributable to something

more than simple negligence upon the part of John Doe.

          77.      John Doe’s conduct showed a complete indifference to or a conscious disregard for

the safety of Mark and others, thereby justifying an award of aggravating circumstances damages

in such sum as will serve to punish and deter Defendant, and others, from like conduct in the future.



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       78.       Plaintiff is entitled to attorney’ fees and costs pursuant to 42 U.S.C. 1988.

       WHEREFORE Plaintiff prays for judgment against John Doe in a fair and reasonable

amount in excess of seventy-five thousand dollars ($75,000.00) for the harms and losses he has

suffered, for his costs incurred herein, for attorneys’ fees, for aggravating circumstances damages,

and for any further relief this Court deems just and proper.

                                              COUNT IV

                                         Medical Negligence
                                       (Defendant Hildebrand)

       79.       Plaintiff incorporates the above allegations as if fully set forth herein.

       80.       During Mark’s care and treatment by Hildebrand, Hildebrand owed a duty to Mark,

individually and/or by and through her employees, agents, servants and/or representatives as

aforesaid, to use that degree of skill and learning ordinarily used by skillful, careful, and prudent

members of the nursing profession in providing medical services.

       81.       Hildebrand breached her duty owed to Mark in one or more of the following

respects:

              i. Failed to appropriately diagnose Mark’s condition;

             ii. Failed to appropriately manage and anticipate complications;

             iii. Failed to order appropriate tests;

             iv. Failed to appropriately treat Mark;

              v. Failed to timely alert medical doctors of Mark’s condition;

             vi. Failed to provide the required medication to treat Mark’s condition;

            vii. Failed to monitor Mark; and

            viii. Such further negligence as will be revealed through discovery and the evidence.




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       82.     As a direct and proximate result of the negligence and carelessness of Hildebrand

as described above, Mark died. Before Mark’s death, he suffered severe discomfort, pain and

mental anguish.

       83.     As a result of his injuries and death, Mark lost wages and his father has lost the

benefit of future wages.

       84.     The conduct of Hildebrand as described above demonstrates willful, wanton and/or

malicious conduct, and shows complete indifference to or conscious disregard for the safety of

Mark and others, justifying an award of aggravating circumstances damages in such sum which

will serve to punish Hildebrand and to deter Hildebrand and others from like conduct in the future.

       WHEREFORE, Plaintiff prays for judgment against Hildebrand in an amount in excess of

Seventy-Five Thousand Dollars ($75,000.00) that is fair, just and reasonable under the

circumstances, for aggravating circumstances damages, for pre- and post-judgment interest, for

costs herein expended, and for such other relief as the Court deems just under the circumstances.



                                                     Respectfully Submitted,

                                                     THE SIMON LAW FIRM, PC

                                             By:     /s/ Kevin M. Carnie, Jr.
                                                     John G. Simon, #35231MO
                                                     Kevin M. Carnie Jr., #60979MO
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